               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:10-cv-00159-MR


SOCIEDAD ESPANOLA de            )
ELECTROMEDICINA y               )
CALIDAD, S.A.,                  )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                      ORDER
                                )
BLUE RIDGE X-RAY COMPANY, INC., )
DRGEM USA, INC. and             )
DRGEM CORPORATION,              )
                                )
                   Defendants.  )
_______________________________ )


        THIS MATTER is before the Court sua sponte.

        This matter came to be heard and tried before a jury on January 11,

2016. Upon conclusion of the first phase of the trial, the jury rendered a

verdict in favor of the Plaintiff, finding that the Defendants had infringed one

or more claims of the patent-in-suit. [Doc. 202]. Upon conclusion of the

second phase of the trial, the jury rendered a verdict awarding the Plaintiff

damages for the Defendants’ infringement and finding that the infringement

committed by DRGEM USA, Inc. and DRGEM Corporation was willful. [Doc.

206].
      While the jury found that these Defendants’ action were willful, that

finding does not end the inquiry. The Court must also make an objective

determination of the Defendants’ recklessness.                See Bard Peripheral

Vascular, Inc. v. W.L. Gore & Assocs., Inc., 682 F.3d 1003, 1006-07 (Fed.

Cir. 2012). To that end, the Court will direct the parties to submit further

briefing on willfulness so that the Court may make a determination of the

Defendants’ recklessness as a matter of law and thereafter enter a judgment

in this matter.

      IT IS, THEREFORE, ORDERED that within twenty-one (21) days of

the filing of the complete transcript of the trial proceedings, the parties shall

file supplemental briefs addressing the objective prong of willfulness. Briefs

shall be double spaced and in 14-point font and shall not exceed 25 pages.

      IT IS SO ORDERED.
                                  Signed: February 17, 2016




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